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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                 March 5, 2015
                                       
                                       
                                       
	In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 5[th] day of March, 2015.

10-15-00060-CR	WILLIAM ARTHUR McINTOSH v. THE STATE OF TEXAS - ON APPEAL FROM THE 40[TH] DISTRICT COURT OF ELLIS COUNTY - TRIAL COURT NO.  20380CR - DISMISSED - Memorandum Opinion by Justice Scoggins:

"This cause came on to be heard on the transcript of the record, and the same being considered, because it is the opinion that this Court lacks jurisdiction and that the appeal should be dismissed; it is therefore ordered, adjudged and decreed that the appeal be, and hereby is, dismissed for want of jurisdiction.  It is further ordered that costs of appeal be, and hereby are, adjudged against Appellant and that this decision be certified below for observance."
